              Case 6:14-bk-05012-CCJ        Doc 20    Filed 04/26/17     Page 1 of 1



                                       ORDERED.

         Dated: April 26, 2017




                           UNITED STATES BANKRUPTCY COURT
                              MIDDLE DISTRICT OF FLORIDA
                                    Orlando DIVISION

In re:
                                                                              Case No.: 14-05012
                                                                                        Chapter 7
Taronica R White


                       Debtor(s)       /


                         ORDER APPOINTING SPECIAL COUNSEL

       THIS MATTER came on for consideration on the Trustee’s Application to Employ
Special Counsel (Doc. No. 19) and it appearing that Heidi R. Burakiewicz, Esquire and the law
firm of Mehri & Skalet, PLLC do not hold any interest adverse to the debtor or the estate with
respect to the matter upon which they are to be retained and it further appearing that the
employment of said attorney is in the best interest of the estate, it is

        ORDERED that Arvind Mahendru, trustee, is authorized to employ Heidi R.
Burakiewicz, Esquire and the law firm of Mehri & Skalet, PLLC as special counsel for the
trustee. Compensation will be determined in accordance with Section 330 of the Bankruptcy
Code. No payment whatsoever shall be made to special counsel absent application and order.


Trustee Arvind Mahendru is directed to serve a copy of this order on interested parties and file a
proof of service within 3 days of entry of the order.
